350 F.2d 407
    Anna KNOLL and Rose Keller, Appellants,v.Alex KNOLL, Josephine Knoll, Joe Knoll, Adam Knoll, WendelinKnoll, MaryBittel, Adolph Knoll, Stephanie Knoll,Margaret Sluga, Casey Jones, andMobilOil Company, Appellees.
    No. 8140.
    United States Court of Appeals Tenth Circuit.
    Aug. 23, 1965, Rehearing Denied Sept. 22, 1965.
    
      Anna Knoll and Rose Keller, pro se.
      Tom C. Triplett, Wichita, Kan.  (George B. Collins, Oliver H. Hughes, Robert Martin, K. W. Pringle, Jr., W. F. Schell, Robert M. Collins, W. L. Oliver, Jr., W. V. Crank, Wichita, Kan., Thomas M. Burns and Peter J. Wall, Denver, Colo., on the brief), for appellees.
      Richard B. Altman, Dallas, Tex.  (Charles B. Wallace, Ross Madole, Donald G. Canuteson, Dallas, Tex., Mark H. Adams, Charles E. Jones, Wm. I. Robinson, J. Ashford Manka, Clifford L. Malone, Mark H. Adams, II, John S. Seeber, Floyd E. Jensen, Robert Hall, Philip L. Bowman and Joe Rolston, Wichita, Kan., on the brief), for Socony Mobil Oil Co., Inc.
      Before PHILLIPS, PICKETT and LEWIS, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appleeants filed this action in the United States District Court for the District of Kansas, alleging, in substance, that they lost their rights of inheritance in their parents' farm in Kansas as a result of the fraud of the defendants.  Upon timely motion, the trial court dismissed the action for lack of the requisite diversity of citizenship.  The jurisdictional allegation of the complaint states that one of the plaintiffs is a citizen of the District of Columbia, and the other a citizen of the State of Illinois.  It also recites that while some of the defendants are citizens of Kansas, other defendants are citizens of the State of Illinois.1  It is obvious there is no diversity of citizenship between the plaintiff and the defendants who are citizens of Illinois.  It has long been held that diversity means 'total diversity.'  That is, all the parties on one side must have citizenship diverse to those on the other side.  Strawbridge v. Curtiss, 3 Cranch 267, 7 U.S. 267, 2 L.Ed. 435; Treinies v. Sunshine Mining Co., 308 U.S. 66, 60 S.Ct. 44, 84 L.Ed. 85, rehearing denied 309 U.S. 693, 60 S.Ct. 464, 84 L.Ed. 1034; Wagner v. Flora, 10 Cir., 290 F.2d 508; 28 U.S.C. 1332; 1 Moore, Federal Practice, P0.60 8.-4, pp. 644-645; Wright, Federal Courts, 24, pp. 71-72.
    
    
      2
      We are also in agreement with the trial court's finding that all the parties are indispensable to the lawsuit, and that none could be dropped or realigned.
    
    
      3
      Affirmed.
    
    
      
        1
         Paragraph 1 of the complaint reads in part: 'Plaintiff Anna Knoll is a citizen of the District of Columbia with a post-office address at 1500 Massachusetts Ave. N.W., Washington, D.C.  Plaintiff Rose Keller is a citizen of the State of Illinois with a post-office address at West 33rd Street, Route 1, Box 89, Zion, Illinois.  Defendants Alex Knoll, Josephine Knoll, Joe Knoll, Adam Knoll, Wendelin Knoll, Mary Bittel, and Casey Jones are citizens of the State of Kansas.  Defendants Adolph Knoll, Stephanie Knoll, and Margaret Sluga are citizens of the State of Illinois.  The Mobil Oil Company is a corporation doing business in the State of Kansas. * * *'
      
    
    